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                                    UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                           TAMPA DIVISION
BRITTANY FINKELDEY,

       Plaintiff,
-vs-                                                       CASE NO.: 8:16-CV-01373-MSS-TGW

NAVIENT SOLUTIONS, INC., and
STUDENT ASSISTANCE CORPORATION

       Defendant
                                            /

                                     NOTICE OF PENDING SETTLEMENT

         Plaintiff, BRITTANY FINKELDEY, by and through the undersigned counsel, hereby notifies the

Court that the parties, Plaintiff, BRITTANY FINKELDEY, and Defendant, NAVIENT SOLUTIONS,

INC., have reached a settlement with regard to this case, and are presently drafting, and finalizing the

settlement agreement, and general release documents. Upon execution of the same, the parties will file

the appropriate dismissal documents with the Court.

                                      CERTIFICATE OF SERVICE

         I hereby certify that on November 4, 2016, I electronically filed the foregoing with the Clerk of

the Court by using the CM/ECF system and that a Notice will be sent to the following by the Court’s

Electronic Filing System: Rachel A. Morris, Esq., Sessions Fishman Nathan Israel LLC, 3350

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                                                       /s/Frank H. Kerney, III, Esquire
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